                 Case 23-11069-CTG              Doc 1324         Filed 12/08/23        Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

                                            Objection Deadline: December 15, 2023, at 4:00 p.m. (ET)

                            NOTICE OF TRANSACTION (DIMENSIONERS)

       PLEASE TAKE NOTICE that, on August 6, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532.

       PLEASE TAKE FURTHER NOTICE that, on September 14, 2023, the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) approved an Order
Approving Procedures for De Minimis Asset Transactions and Abandonment of De Minimis Assets
[Docket No. 551] (the “Transaction Procedures Order”), whereby the Bankruptcy Court authorized
the Debtors to use, sell, transfer, swap, or abandon certain non-core assets (collectively,
the “De Minimis Assets”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Transaction Procedures
Order, the Debtors propose to sell the De Minimis Assets set forth and described on Exhibit A
attached hereto (the “Transaction Assets”). Exhibit A identifies, for each Transaction Asset, as
may be applicable and to the extent such information is readily available: (a) identification of the
De Minimis Assets being used, sold, or transferred; (b) identification of the serial number and VIN
for the De Minimis Assets being used, sold, or transferred; (c) identification of the Debtor entity
selling the De Minimis Assets; (d) identification of the purchaser of the De Minimis Assets; (e) the
purchase price; (f) the estimated book value and appraised value for the De Minimis Assets being
sold or transferred as reflected in the Debtors’ books and records; (g) the marketing or sales
process, including any commissions to be paid to third parties in connection with the sale, if
applicable; and (h) any other significant terms of the use, sale, or transfer.3


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      All capitalized words not defined herein have the meanings ascribed to them in the Motion of Debtors to Approve
      Procedures for De Minimis Asset Transactions and Abandonment of De Minimis Assets [Docket No. 360].
3
      The information may be provided in summary form or by attaching the applicable contract or contracts to the
      Transaction Notice.



DE:4855-5113-3078.1 96859.001
                 Case 23-11069-CTG       Doc 1324       Filed 12/08/23      Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that, pursuant to the Transaction Procedures
Order, if the terms of a proposed use, sale, or transfer are materially amended after transmittal of
the Transaction Notice but prior to the applicable deadline of any Transaction Notice Parties’ right
to object to such sale or acquisition, the Debtors will send a revised Transaction Notice
(the “Amended Transaction Notice”) to the Transaction Notice Parties, after which the Transaction
Notice Parties shall have an additional three (3) business days to object to such use, sale, or transfer
prior to closing such sale or effectuating such transaction (the “Amended Objection Period”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Transaction Procedures
Order, any recipient of this notice may object to the proposed transaction within the Initial
Objection Period (as defined in the Transaction Procedures Order) or the Amended Objection
Period (as defined in the Transaction Procedures Order), as applicable. Objections: (a) must be
in writing; (b) set forth the name of the objecting party; (c) provide the basis for the objection
and the specific grounds therefor; (d) be filed electronically with the Court, and (e) be served
on (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400, Overland Park, Kansas
66211, Attn.: General Counsel; (ii) counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North
LaSalle, Chicago, Illinois, 60654, Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com)
and Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson
B. Smith (allyson.smith@kirkland.com) and (B) co-counsel to the Debtors, Pachulski Stang Ziehl
& Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801,
Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns (tcairns@pszjlaw.com), Peter
J. Keane (pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of
United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov) and Richard
Shepacarter (richard.shepacarter@usdoj.gov); and (iv) counsel to the Committee, (A) Akin Gump
Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-
6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A. Lahaie
(mlahaie@akingump.com), and Kevin Zuzolo (kzuzolo@akingump.com) and (B) co-counsel to
the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North Market Street, Suite
1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover (jhoover@beneschlaw.com) and Kevin
M. Capuzzi (kcapuzzi@beneschlaw.com), so as to be received on or before the Initial Objection
Period or the Amended Objection Period, as applicable (collectively, the “Transaction Notice
Period”).

        If you object, the Debtors may not use, sell, transfer, swap, or acquire the Transaction
Assets unless you and the Debtors consensually resolve the objection or upon further
Bankruptcy Court order approving the use, sale, transfer, or acquisition of such Transaction
Assets.




                                                   2
DE:4855-5113-3078.1 96859.001
